                          IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                   WESTERN DIVISION
                                      5:21-CT-3270-D

 TRACEY EDWARDS,                                      )
                                                      )
                 Plaintiff,                           )
                                                      )
                 V.                                   )                        ORDER
                                                      )
 ERIK HOOKS , et al. ,                                )
                                                      )
                 Defendants.                          )

       Attorney Oren Nirnni, one of plaintiffs counsel ofrecord, notified the Clerk's Office this

morning that due to a minor emergency he will be unable to attend the court-hosted settlement

conference tomorrow in person, but will be able to attend virtually. He advised that another

attorney from his office will be attending in person.

       Attorney Nimni shall accordingly attend the entire settlement conference via the court's

videoconference system. As soon as possible today, he shall contact IT Administrator Travis Orr

(919-645-1719;        travis_orr@nced.uscourts.gov)       for   instructions   on   use   of the   court's

videoconference system and perform a test run of the system. The Clerk shall provide a copy of

this order to IT Administrator Orr promptly after it is filed.

       SO ORDERED, this 7th day of September 2023.




                                                           J~
                                                           United States Magistrate Judge




          Case 5:21-ct-03270-D Document 172 Filed 09/07/23 Page 1 of 1
